   Case 22-42780-mxm11             Doc 189-1 Filed 02/28/23 Entered 02/28/23 14:08:22   Desc
                                         Exhibit A Page 1 of 1

COMBINED
                          Week                18           19           20
                          Ending      3/17/2023    3/24/2023    3/31/2023
A/R Collections                         177,500      177,500      177,500
Other collections                           ‐            ‐            ‐
Total Receipts                          177,500      177,500      177,500




Operating Costs
Payroll                                124,421      124,421      124,421
Fuel, tolls and road costs              56,000       61,000       61,000
Insurance                               27,219       27,219       27,219
Occupancy                                  ‐            ‐            ‐
Parts, repairs and supplies             43,500       43,500       43,500
Taxes and licenses                       4,106        4,106        4,106
CAPEX                                      ‐            ‐            ‐
Other                                    9,640        9,640        9,640
Mike Albert, Ltd.                       25,000       25,000       25,000
Intercompany Transfers

Total Operating Costs                  289,886      294,886      294,886

Total BK and Other costs
Professional Fees                        50,000       50,000       50,000
UST fees                                    ‐            ‐            ‐
                                      50,000.00    50,000.00    50,000.00

Affiliate contributions                 10,000       13,000       75,000

Weekly Cash flow                       (152,386)    (154,386)     (92,386)

Rolling Cash Balance
 Beginning Cash                         403,089      250,703       96,318
 Weekly Cash Flow                      (152,386)    (154,386)     (92,386)
Week Ending Cash Balance                250,703       96,318        3,932
